          Case
B1 (Official Form 15-63347-jwc
                  1) (04/13)                              Doc 1           Filed 07/16/15 Entered 07/16/15 15:30:08                                               Desc Main
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                                         United States Bankruptcy Court                                                                                     Voluntary Petition
                                   Northern District of Georgia - Atlanta Division
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
        HCG Software, LLC
All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
        DBA Hawthorne Consulting Group, LLC; DBA
        PrevisionEPM
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all):                                                                       (if more than one, state all):
        XX-XXXXXXX
Street Address of Debtor (No. & Street, City, and State):                                            Street Address of Joint Debtor (No. & Street, City, and State):
        517 SW 4th Avenue, Suite 300
        Portland, OR 97204                                                 ZIP CODE                                                                                        ZIP CODE
                                                                           97204-0000
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
        Multnomah
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street
        507 Avery Creek Pointe                                                                       address):
        Woodstock, GA 30188                                                ZIP CODE                                                                                        ZIP CODE
                                                                           30188-0000
Location of Principal Assets of Business Debtor (if different from street address above): 2001 NW Aloplek Drive, Unit 357 Hillsboro, OR 97124
                     Type of Debtor                                              Nature of Business             Chapter of Bankruptcy Code Under Which
                   (Form of Organization)                                         (Check one box.)                  the Petition is Filed (Check one box)
                           (Check one box.)

        Individual (includes Joint Debtors)                                 Health Care Business                                         Chapter 7                     Chapter 15 Petition for
        See Exhibit D on page 2 of this form.                               Single Asset Real Estate as defined in 11 U.S.C. §                                         Recognition of a
                                                                                                                                         Chapter 9                     Foreign Main
                                                                            101(51B)
        Corporation (includes LLC and LLP)                                                                                               Chapter 11                    Proceeding
                                                                            Railroad
        Partnership                                                                                                                      Chapter 12                    Chapter 15 Petition for
                                                                            Stockbroker
        Other (If debtor is not one of the above entities, check this                                                                    Chapter 13                    Recognition of a
                                                                            Commodity Broker
        box and state type of entity below.)                                                                                                                           Foreign Nonmain
                                                                            Clearing Bank                                                                              Proceeding
                                                                            Other


                         Chapter 15 Debtors                                              Tax-Exempt Entity                                             Nature of Debts
                                                                                     (Check box, if applicable.)                                       (Check one box)
 Country of debtor's center of main interests:
                                                                                                                                          Debts are primarily consumer          Debts are
                                                                                Debtor is a tax-exempt organization under
                                                                                                                                          debts, defined in 11 U.S.C. §     primarily business
 Each country in which a foreign proceeding by, regarding, or                   Title 26 of the United States Code (the
                                                                                                                                          101(8) as "incurred by an         debts.
 against debtor is pending:                                                     Internal Revenue Code).
                                                                                                                                          individual primarily for a
                                                                                                                                          personal, family, or household
                                                                                                                                          purpose."
                                 Filing Fee (Check one box.)                                         Check one box:              Chapter 11 Debtors
    Full Filing Fee attached                                                                         Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must attach signed Check if:
    application for the court's consideration certifying that the debtor is unable to pay fee        Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
    except in installments. Rule 1006(b). See Official Form 3A.                                affiliates) are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three
                                                                                               years thereafter).
                                                                                               ------------------------------------------------------
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
                                                                                               Check all applicable boxes:
    signed application for the court's consideration. See Official Form 3B.
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                     in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                   THIS SPACE IS FOR COURT USE ONLY

    Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution
    to unsecured creditors.
Estimated Number of Creditors

 1-49           50-99          100-199        200-999        1,000-        5001-           10,001-          25,001-        50,001-        OVER
                                                             5,000         10,000          25,000           50,000         100,000        100,000
Estimated Assets

 $0 to          $50,001 to     $100,001 to $500,001          $1,000,001    $10,000,001     $50,000,001      $100,000,001 $500,000,001 More than
 $50,000        $100,000       $500,000    to $1             to $10        to $50          to $100          to $500      to $1 billion $1 billion
                                           million           million        million        million          million
Estimated Liabilities
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 $0 to     $50,001 to   $100,001 to $500,001    $1,000,001    $10,000,001   $50,000,001   $100,000,001 $500,000,001 More than
 $50,000   $100,000     $500,000    to $1       to $10        to $50        to $100       to $500      to $1 billion $1 billion
                                    million     million        million      million       million
B1 (OfficialCase
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Voluntary Petition                                                                       Name of Debtor(s):
(This page must be completed and filed in every case)                                          HCG Software, LLC
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                 Case Number:                                               Date Filed:
Where Filed:       - None -
Location                                                                                 Case Number:                                               Date Filed:
Where Filed:
              Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: - None -                                                                 Case Number:                                               Date Filed:

District:                                                                                Relationship:                                              Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                                                (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
10Q) with the Securities and Exchange Commission pursuant to Section 13 or           I, the attorney for the petitioner named in the foregoing petition, declare that I
15(d) of the Securities Exchange Act of 1934 and is requesting relief under          have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
chapter 11.)                                                                         or 13 of title 11, United States Code, and have explained the relief available under
                                                                                     each such chapter. I further certify that I delivered to the debtor the notice
                                                                                     required by 11 U.S.C. § 342(b).
    Exhibit A is attached and made a part of this petition.                           X
                                                                                          Signature of Attorney for Debtor(s)                  (Date)

                                                                                  Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
    Yes, and Exhibit C is attached and made a part of this petition.
    No

                                                                                  Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                             Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                 preceding the date of this petition or for a longer part of such 180 days than in any other District.
                  There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                 no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                 District, or the interests of the parties will be served in regard to the relief sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                         (Check all applicable boxes.)

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the
                 following.)


                                     (Name of landlord that obtained judgment)

                                     (Address of landlord)

                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
                 period after the filing of the petition.

                  Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Voluntary Petition                                                                     Name of Debtor(s):
(This page must be completed and filed in every case)                                     HCG Software, LLC
                                                                                  Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this
     petition is true and correct.                                                           I declare under penalty of perjury that the information provided in this
     [If petitioner is an individual whose debts are primarily consumer debts and            petition is true and correct, that I am the foreign representative of a debtor in a
     has chosen to file under chapter 7] I am aware that I may proceed under                 foreign proceeding, and that I am authorized to file this petition.
     chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief          (Check only one box.)
     available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States
     [If no attorney represents me and no bankruptcy petition preparer signs the                 Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
     petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).               attached.
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                                                 chapter of title 11 specified in this petition. A certified copy of the order
     I request relief in accordance with the chapter of title 11, United States
                                                                                                 granting recognition of the foreign main proceeding is attached.
     Code, specified in this petition.
 X
      Signature of Debtor                                                                X
 X                                                                                            (Signature of Foreign Representative)
      Signature of Joint Debtor
                                                                                              (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)
                                                                                              Date
      Date
                             Signature of Attorney*                                            Signature of Non-Attorney Bankruptcy Petition Preparer
  X /s/ Robert B. Campos
    Signature of Attorney for Debtor(s)                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Robert B. Campos 107357                                                          defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Printed Name of Attorney for Debtor(s)                                           have provided the debtor with a copy of this document and the notices and
                                                                                       information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if
      Law Office of Robert B. Campos                                                   rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting
      Firm Name                                                                        a maximum fee for services chargeable by bankruptcy petition preparers, I have
      2774 N. Cobb Parkway                                                             given the debtor notice of the maximum amount before preparing any document
      Suite 109 #317                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                       section. Official form 19 is attached.
      Address

      404-388-3122 E-mail:rcampos@camposlawoffice.net
      Telephone Number                                                                        Printed Name and title, if any, of Bankruptcy Petition Preparer

      July 16, 2015
      Date                                                                                   Social-Security number (If the bankruptcy petition preparer is not an individual, state
                                                                                             the Social-Security number of the officer, principal, responsible person or partner of the
                                                                                             bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.
                                                                                             Address
              Signature of Debtor (Corporation/Partnership)                              X
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of
the debtor.                                                                                   Date
The debtor requests relief in accordance with the chapter of title 11, United States
Code, specified in this petition.
  X /s/ William C. Smith, Jr.                                                          Signature of bankruptcy petition preparer or officer, principal, responsible person,
      Signature of Authorized Individual                                               or partner whose social security number is provided above.
      William C. Smith, Jr.
      Printed Name of Authorized Individual                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                                       assisted in preparing this document unless the bankruptcy petition preparer is not
      Managing Member
                                                                                       an individual
      Title of Authorized Individual
      July 16, 2015                                                                    If more than one person prepared this document, attach additional sheets
      Date                                                                             conforming to the appropriate official form for each person.

                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the
                                                                                       Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11
                                                                                       U.S.C. § 110; 18 U.S.C. § 156.
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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                       Northern District of Georgia - Atlanta Division
 In re      HCG Software, LLC                                                                                  Case No.
                                                                                 Debtor(s)                     Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
              business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE
                         $315,425.93                            2015 - See Attachment 1
                         $634,350.65                            2014 - See Attachment 1
                         $1,268,682.00                          2013 - Sales

               2. Income other than from employment or operation of business
    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE



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                                       ATTACHMENT 1
                                     HCG Software, LLC

                                                              Jan 1 - Jul 9, 15
            Ordinary Income/Expense
                 Income
                    Uncategorized Income                            11,750.00
                    Initial License                                 35,762.00
                    Initial Professional Fees                       43,850.29
                    First Year USM                                  11,252.08
                    Professional Services                           29,410.00
                    Annual USM                                     163,242.00
                    Monthly USM                                      7,424.16
                    Reimbursed Expenses - Income                    12,735.40
                 Total Income                                      315,425.93

              Gross Profit                                         315,425.93




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9:53 AM                                             HCG Software, LLC
07/16/15                                                 Profit & Loss
Accrual Basis                                   January through December 2014

                                                                            Jan - Dec 14
                            Ordinary Income/Expense
                                 Income
                                    Initial License                                        147,167.00
                                    Initial Professional Fees                              127,397.00
                                    First Year USM                                          33,421.67
                                    Professional Services                                  141,050.00
                                    Annual USM                                             162,650.00
                                    Additional Licenses                                      1,500.00
                                    Other Professional Services                                  0.00
                                    Reimbursed Expenses - Income                            21,164.98
                                 Total Income                                              634,350.65

                              Gross Profit                                                 634,350.65
                                 Expense
                                   Advertising Expense
                                      Client Gifts                                    477.45
                                      Capterra                                     13,939.75
                                      DHX Advertising                              21,260.00
                                      Google Adwords                               75,000.00
                                      Locology                                     17,820.00
                                      Pardot                                       12,000.00
                                      Salesforce                                   18,994.10




                                                                                    1,095.00
                                    Total Insurance                                         39,412.11


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B7 (Official Form 7) (04/13)                                                                                                                                       2

               3. Payments to creditors
      None     Complete a. or b., as appropriate, and c.
      
               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
    OF CREDITOR                                                           PAYMENTS                           AMOUNT PAID                  OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                          DATES OF                                  PAID OR
                                                                          PAYMENTS/                               VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING
 See Attachment 3(b)                                                                                             $80,992.49                 $0.00


      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
        RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                    AMOUNT PAID                   OWING
 Scott Stanton                                                            7/16/14 $174.61; 12/1/14             $48,446.29               $597,747.00
 19188 SE Tillstron Road                                                  $245.31; 12/19/14 $551.16;
 Boring, OR 97009                                                         07/02/2014 $10,000;
    Former Managing Director/Member of Board of                           07/10/2014 $5,000.00;
 Managers                                                                 07/15/2014 $2,000.00;
                                                                          08/01/2014 $1,962.16;
                                                                          08/11/2014 $1,352.50;
                                                                          08/27/2014 $1,922.03;
                                                                          09/03/2014 $258.40;
                                                                          09/30/2014 $3,000.00;
                                                                          10/02/2014 $1,060.01;
                                                                          10/08/2014 $600.00;
                                                                          11/04/2014 $226.74;
                                                                          11/17/2014 $1,500.00;
                                                                          12/15/2014 $1,123.25;
                                                                          12/16/2014 $158.00;
                                                                          12/31/2014 $150.20;
                                                                          01/05/2015 $8,000.00;
                                                                          01/28/2015 $10,000.00;
                                                                          1/29/2015 $133.00




  *
      Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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HCG Software, LLC                                                                             ATTACHMENT 3(B)
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                                         Type         Date                  Num             Memo                     Account           Clr                Split         Amount


   Barrington Management, LLC
                                  Bill Pmt -Check   04/21/2015   7006                                        Chase (WAMU) Checking     √     Accounts Payable             -5,680.00
                                  Bill              06/01/2015   1925                                        Accounts Payable                Utilities                     -180.00
                                  Bill              06/01/2015   1926                                        Accounts Payable                -SPLIT-                      -5,500.00




   Bryan Cave, LLP
                                  Bill Pmt -Check   05/26/2015   7033                #C084490                Chase (WAMU) Checking     √     Accounts Payable             -3,000.00
                                  Bill              06/03/2015   10456768            #C084490                Accounts Payable                Legal Fees                   -1,500.00
                                  Bill Pmt -Check   06/05/2015   7056                #C084490                Chase (WAMU) Checking     √     Accounts Payable             -3,000.00
                                  Bill              06/10/2015   10458280            #C084490                Accounts Payable                Legal Fees                   -1,500.00
                                  Bill              06/19/2015   10462042            #C084490                Accounts Payable                Legal Fees                   -1,500.00




   Oregon Department of Revenue
                                  Liability Check   04/27/2015   7007                1237619-0 / Form OQ - 1st Chase (WAMU) Checking   √     -SPLIT-                      -5,292.69
                                  Liability Check   04/29/2015   7025                1237619-0               Chase (WAMU) Checking     √     State Tax WH - OR            -3,193.00
                                  Liability Check   05/06/2015   7015                1237619-0 / Form OQ - 2n Chase (WAMU) Checking    √     State Tax WH - OR            -3,390.00
                                  Liability Check   06/05/2015   7055                1237619-0 / Form OQ - 2n Chase (WAMU) Checking    √     State Tax WH - OR            -3,690.00
                                  Liability Check   07/07/2015   To Print            1237619-0               US Bank Checking                State Tax WH - OR            -3,206.00


   United States Treasury
                                  Liability Check   04/22/2015                       XX-XXXXXXX / Form 941 - 2 Chase (WAMU) Checking   √     -SPLIT-                       -631.50
                                  Liability Check   05/06/2015                       XX-XXXXXXX / Form 941 - 2 Chase (WAMU) Checking   √     -SPLIT-                     -15,366.56
                                  Liability Check   05/19/2015                       XX-XXXXXXX / Form 941 - 2 Chase (WAMU) Checking   √     -SPLIT-                       -334.74
                                  Liability Check   06/05/2015                       XX-XXXXXXX / Form 941 - 2 Chase (WAMU) Checking   √     -SPLIT-                     -12,790.72
                                  Liability Check   06/11/2015                       XX-XXXXXXX              Chase (WAMU) Checking     √     -SPLIT-                       -259.22
                                  Liability Check   06/15/2015                       XX-XXXXXXX              Chase (WAMU) Checking     √     -SPLIT-                       -336.40
                                  Liability Check   07/06/2015                       XX-XXXXXXX              US Bank Checking                -SPLIT-                     -10,641.66


                                                                                                                                                                         -80,992.49




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 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                    AMOUNT PAID              OWING
 John C. Herbers                                                           11/21/14 $886.82; 11/25/14           $61,669.09               $0.00
 7600 Landmark Way                                                         $6,000.00; 12/12/14
 Ste. 1615                                                                 $2,309.12; 12/18/14
 Englewood, CO 80111                                                       $6,000.00; 1/9/15 $1,244.09;
    Former Interim CEO/Director                                            1/15/15 $6,000.00; 2/6/15
                                                                           $1,638.00; 2/6/15 $6,000.00;
                                                                           2/27/15 $1,981.66; 3/13/15
                                                                           $1,942.40; 3/13/15
                                                                           $6,000.00; 4/16/15
                                                                           $6,000.00; 5/11/15 $972.96;
                                                                           5/15/15 $6,000.00; 6/2/15
                                                                           $1,694.04; 6/25/15 $7,000.00
 Lori Forbess                                                              03/13/2015 $1,712.95;                 $43,421.59              $4,350.00
 18399 SW Santoro Drive                                                    05/06/2015 $891.20;
 Beaverton, OR 97007                                                       06/02/2015 $2,048.32;
    Former Chief Operating Officer                                         01/02/2015 $5,227.60;
                                                                           02/02/2015 $5,227.61;
                                                                           02/04/2015 $763.74;
                                                                           03/02/2015 $5,227.60;
                                                                           04/01/2015 $5,227.60;
                                                                           04/16/2015 $407.43;
                                                                           05/01/2015 $5,230.37;
                                                                           6/01/2015; 06/17/2015
                                                                           $999.20; 07/01/2015
                                                                           $5,230.37

               4. Suits and administrative proceedings, executions, garnishments and attachments
    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                         NATURE OF         COURT OR AGENCY                              STATUS OR
 AND CASE NUMBER                                                         PROCEEDING        AND LOCATION                                 DISPOSITION
 Parsons Farnell & Grein, LLP vs. HCG Software,                          Collection Action Circuit Court County of Multnomah,           Judgment
 LLC; Case No. 15CV12004                                                                   Oregon                                       entered
                                                                                                                                        6/23/15;
                                                                                                                                        Garnishment
                                                                                                                                        Issued
 Public Sector Solutions, Inc. v. HCG Software,                          Appeal of           United States District Court for the     Affirmed by
 LLC                                                                     bankruptcy          District of Maryland, at Baltimore; Case 4th Circuit
                                                                         court's order for   No. 1:14-CV-02368-JKB
                                                                         relief on
                                                                         involuntary
                                                                         Chapter 7
                                                                         petition filed by
                                                                         HCG Software,
                                                                         LLC




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 CAPTION OF SUIT                                                         NATURE OF         COURT OR AGENCY                               STATUS OR
 AND CASE NUMBER                                                         PROCEEDING        AND LOCATION                                  DISPOSITION
 In re: Public Sector Solutions, Inc.; Case No.                          Chapter 7         United States Bankruptcy Court District       Fourth Circuit
 14-15477                                                                                  of Maryland                                   affirmed
                                                                                                                                         decision of
                                                                                                                                         United States
                                                                                                                                         District Court
                                                                                                                                         for the District
                                                                                                                                         of Maryland's
                                                                                                                                         dismissal of
                                                                                                                                         appeal of
                                                                                                                                         Bankruptcy
                                                                                                                                         Court's order
                                                                                                                                         for relief on
                                                                                                                                         the
                                                                                                                                         involuntary
                                                                                                                                         petition filed
                                                                                                                                         by HCG
                                                                                                                                         Software, LLC

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                          DESCRIPTION AND VALUE OF
      BENEFIT PROPERTY WAS SEIZED                                        DATE OF SEIZURE               PROPERTY
 Parsons Farnell & Grein, LLP                                            7/10/15               U.S. Bank checking account; $15.00
 c/o Paul C. Galm
 12220 SW First Street
 Beaverton, OR 97005

               5. Repossessions, foreclosures and returns
    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,        DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN                PROPERTY

               6. Assignments and receiverships
    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                  TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                      DATE OF           DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER                ORDER                   PROPERTY




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               7. Gifts
    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT

               8. Losses
    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                       LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS
 Computer Equipment; $1,340.00                                            Damage from upstairs water leak; covered by             November 2014
                                                                          insurance

               9. Payments related to debt counseling or bankruptcy
    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                             DATE OF PAYMENT,                              AMOUNT OF MONEY
 NAME AND ADDRESS                                                         NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                                    THAN DEBTOR                                  OF PROPERTY
 Bryan Cave                                                               4/9/15                                      $2,500.00
 One Atlantic Center
 1201 W. Peachtree St., NW
 Atlanta, GA 30309
 Bryan Cave                                                               5/26/15                                     $3,000.00
 One Atlantic Center
 1201 W. Peachtree St., NW
 Atlanta, GA 30309
 Bryan Cave                                                               6/5/15                                      $3,000.00
 One Atlantic Center
 1201 W. Peachtree St., NW
 Atlanta, GA 30309

               10. Other transfers
    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                            DATE                            AND VALUE RECEIVED
 William C. Smith, Jr.                                                   6/15/15                Security interest in all of Debtor's property
 507 Avery Creek Pointe                                                                         pursuant to the Security Agreement and
 Woodstock, GA 30188                                                                            Promissory Note entered into on or about June
    Member                                                                                      15, 2015
 William C. Smith, Jr.                                                   7/3/15                 Security interest in all of Debtor's property
 507 Avery Creek Pointe                                                                         pursuant to the Security Agreement and
 Woodstock, GA 30188                                                                            Promissory Note entered into on or about July 3,
    Member                                                                                      2015

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 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
      RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED
 Energetiq Technology, Inc.                                              7/13/15                 Source code
 7 Constitution Way
 Woburn, MA 01801
    Customer
 Professional Data Solutions, Inc.                                       7/10/15                 Source Code
 3407 S. 31st Street
 Temple, TX 76502
    Customer

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                  DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                         TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts
    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                           TYPE OF ACCOUNT, LAST FOUR
                                                                           DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                          AND AMOUNT OF FINAL BALANCE                          OR CLOSING

               12. Safe deposit boxes
    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs
    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                             DATE OF SETOFF                                 AMOUNT OF SETOFF

               14. Property held for another person
    None       List all property owned by another person that the debtor holds or controls.
     
 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY




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               15. Prior address of debtor
    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                    DATES OF OCCUPANCY
 2180 SW Jefferson St.                                                   HCG Software, LLC                            2003-9/27/2013
 Portland, OR 97201

               16. Spouses and Former Spouses
    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
              Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
               to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
              liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
               known, the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                STATUS OR DISPOSITION




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               18 . Nature, location and name of business
    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
               securities within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     
 NAME                                                                    ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements
    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 MLD Accounting, LLC                                                                                       2013-present
 PO Box 33887
 Portland, OR 97292

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
              books of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED
 Thompson Kessler Weist &                           111 SW Columbia, Ste. 750                              2013-2014
 Borquist, PC                                       Portland, OR 97201

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS
 Lori Forbess                                                                           18399 SW Santoro Drive
                                                                                        Beaverton, OR 97007



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    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                  DATE ISSUED

               20. Inventories
    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
     
                                                                                 NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                               RECORDS

               21 . Current Partners, Officers, Directors and Shareholders
    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     
 NAME AND ADDRESS                                                        NATURE OF INTEREST                            PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                        TITLE                             OF STOCK OWNERSHIP
 William C. Smith, Jr.                                                   Director and Managing Member      41% interest in LLC
 507 Avery Creek Pointe
 Woodstock, GA 30188
 Scott Stanton                                                           Shareholder                       42% interest in LLC
 19188 SE Tillstrom
 Boring, OR 97009

               22 . Former partners, officers, directors and shareholders
    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                        TITLE                             DATE OF TERMINATION
 John C. Herbers                                                         Interim CEO, Director             June 30, 2015
 7600 Landmark Way Suite 1615
 Englewood, CO 80111
 Scott Stanton                                                           Officer/Member                    January 29, 2015
 19188 SE Tillstrom
 Boring, OR 97009
 Lori Forbess                                                            Chief Operating Officer           7/3/15
 18399 SW Santoro Drive
 Beaverton, OR 97007




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               23 . Withdrawals from a partnership or distributions by a corporation
    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
 OF RECIPIENT,                                                           DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                  OF WITHDRAWAL                                VALUE OF PROPERTY
 Scott Stanton                                                           Various; See answer to question 3(c)         $48,446.29
 19188 SE Tillstrom Road
 Boring, OR 97009
    Former Member
 John C. Herbers                                                         Various; See answer to question 3(c)         $61,669.09
 7600 Landmark Way
 Ste. 1615
 Englewood, CO 80111
    Former Interim CEO/Director
 Lori Forbess                                                            Various; See answer to question 3(c)         $41,421.59
 18399 SW Santoro Drive
 Beaverton, OR 97007
    Former Chief Operating Officer

               24. Tax Consolidation Group.
    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.
    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
              an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                                ******




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          DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


 Date July 16, 2015                                                      Signature   /s/ William C. Smith, Jr.
                                                                                     William C. Smith, Jr.
                                                                                     Managing Member

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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  In re         HCG Software, LLC                                                                             Case No.
                                                                                                     ,
                                                                                       Debtor

                                                             SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                     Husband,    Current Value of
                                                                             Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                         Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                    Community Deducting  any Secured
                                                                                                                Claim or Exemption




                       None




                                                                                                     Sub-Total >               0.00          (Total of this page)

                                                                                                          Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                     (Report also on Summary of Schedules)
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  In re         HCG Software, LLC                                                                                   Case No.
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

1.    Cash on hand                                            Checks                                                           -                        1,382.67
                                                              Location: 517 SW 4th Avenue, Suite 300, Portland
                                                              OR 97204

2.    Checking, savings or other financial                    JPMorgan Chase Bank checking account                             -                              0.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      U.S. Bank checking Account                                       -                              0.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                           Security deposit held by landlord                                -                      34,667.00
      utilities, telephone companies,                         Location: Little Building, LLC, 3380 Barrington
      landlords, and others.                                  Drive, West Linn, OR 97068

4.    Household goods and furnishings,                    X
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    X

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                               Sub-Total >          36,049.67
                                                                                                                   (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re         HCG Software, LLC                                                                                   Case No.
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                      See Attachment B(16)                                             -                      14,594.35

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                     Judgment Against Public Sector Solutions, Inc.                   -                  1,031,652.50
    including tax refunds. Give particulars.
                                                              Loan made to Andy Seitz                                          -                        8,400.00
                                                              Location: 517 SW 4th Avenue, Suite 300, Portland
                                                              OR 97204

19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                               Sub-Total >      1,054,646.85
                                                                                                                   (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                                                                     ATTACHMENT B(16)

             Customer                   Amount                        Description                        Status       Owed                   Need Service to Collect
Algodon Group                       $     2,029.35 Expense for Training                            Invoiced       $           2,029.35
Aquatic                             $     2,625.00 Prorated Maintenance July - Sept                Invoiced                              $                  2,625.00
Beatrice Community Hospital         $          -
Blick Art Materials                 $     7,225.00 Half of Annual Maintenance - dispute service    Invoiced                              $                  7,225.00
Carat                               $          -
Citizens Medical Center             $          -
City of Brewton                     $          -
Clearwater Valley and St. Mary's
Hospital                            $           -
Connecticut Community Care          $           -
Dehm Associates LLC                 $           -
                                                   Paid half up front (may want refund), no work
Energetiq                           $    28,000.00 done, as work completed, 2 more payments of     Not Invoiced                          $                 28,000.00
Flyers Energy                       $          -

Georgia Student Finance Authority   $           -
Henry County Hospital               $           -
Hillsboro Area Hospital             $           -
Iberia Medical Center (IMC)         $           -
Komar Brands Inc                    $           -
New Life Christian Church           $      1,870.00 New report and training completed              Invoiced       $           1,870.00
New York Hospital Queens            $      9,195.00 Annual maintenance                             invoiced       $           9,195.00

Oklahoma Countertops & Flooring     $           -
OnCue Marketing- PDI                $           -
Oroville Hospital                   $           -
Professional Datasolutions Inc
(PDI)                               $          -
Re-Bath LLC                         $          -
Servicon                            $          -
Synergy                             $    28,000.00 No work started                                                                       $                 28,000.00
Terrebonne General Medical
Center                              $           -

Thibodaux Regional Medical Center   $          -
Twining Inc                         $    15,600.00 Work almost completed                                                                 $                 15,600.00
University of Arkansas Medical
Center                              $      1,500.00 Work Complete                                  Invoiced       $           1,500.00
Van Diest Medical Center            $           -
Walker County                       $           -

Total                               $    96,044.35                                                                $          14,594.35 $                   81,450.00
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  In re         HCG Software, LLC                                                                                   Case No.
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

21. Other contingent and unliquidated                         Unauthorized payments to Scott D. Stanton                        -                      Unknown
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                            Software and associated software code                            -                      Unknown
    intellectual property. Give                               Location: 517 SW 4th Avenue, Suite 300, Portland
    particulars.                                              OR 97204

                                                              URL: previsionepm.com                                            -                            50.00

                                                              URL: hcgsoftware.com                                             -                            50.00

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    X
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                        Miscellaneous office equipment (See Attachment                   -                        1,000.00
    supplies.                                                 B(28)/B(29))
                                                              Location: Storage Unit: 2001 NW Aloplek Drive,
                                                              Unit 357, Hillsboro, OR 97124

29. Machinery, fixtures, equipment, and                       Computers and monitors (See Attachment                           -                        1,500.00
    supplies used in business.                                B(28)/B(29))
                                                              Location: Storage Unit: 2001 NW Aloplek Drive,
                                                              Unit 357, Hillsboro, OR 97124

                                                              Servers                                                          -                        3,500.00
                                                              Location: Global Network Support, Inc., 10310 Sw
                                                              Susquehanna Dr Tualatin, OR 97062

30. Inventory.                                            X



                                                                                                                               Sub-Total >            6,100.00
                                                                                                                   (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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Inventory                                                   ATTACHMENT B(28)/B(29)

Rose City box marked "Justin"
Description                           Notes
2x RAM DIMMs                          Error-correcting server memory, likely old or dead
Linksys WiFi card                     Old-style laptop expansion card
Linksys SD205                         5-port 10/100 networking switch; old
D-LINK DSS-16+                        16-port 10/100 unmanaged desktop/rackmount network switch
Misc. network cables

Rose City box marked "Server'
Description                           Notes
SonicWall TZ 100                      Old network security appliance, likely a gateway or VPN
Misc. cables
Misc. documentation                   Random product inserts, nothing useful

Cabinets
Misc. cables
Desk lamp                           Still in box
Briefcase
Visual Studio 2003 Professional     Boxed copy
Burned CDs                          Contents unknown
D-LINK DGS-2205                     5-port 10/10/1000 network switch
EPSON color ink cartridge T027
Box for Lacie 2TB Ext. Hard Drive   Actual unit is in the closet with HCG-RUSH -- contents are pre-2013 desktop backups
Empty box for Samsung Galaxy S4 phone
Barnes & Noble Nook e-reader        "H2O damaged"
(8) boxes of old files
Few misc office supplies            a few notebooks, pens and folders

Equipment
(10) Samsung phones
Phone Switch
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(17) Monitors
(1) Headset
Demo room laptop                     Demo room
CONSULT-MANAGER                      Conference Room Desktop
Projector
(5) Keyboards
DESKTOP03                            From Nathan's Office
QA-SPT-MANAGER (Tina)                Includes (2) monitors, mouse and keyboard
Training/Travel laptop (Tina)
CONSULTANT-1 (Shellie)               Includes (2) monitors
LAPTOP-MBRADLEY                      Has GSFC Connection (Molly's unstable laptop)
RUSH                                 Contents unknown, can't log in
Server Surge Protector
Shredder
(2) Printers
Scanner/printer
Eric's workstation
DEVDIRECTOR                          Tracy's office - No idea what is on here
DEVELOPER02                          Tracy's office - Justin's main dev machine
Tracy's laptop                       Includes 2 monitors
EXEC01 (Lori)                        Includes 2 monitors, mouse and keyboard
DEVELOPER01                          Eric's office
SUPPORT01                            Front desk
Unknown laptop                       Lori's old office

Furniture
Desk from Scott's old office

Front Desk
Description                          Notes
Nortel SoundStation 2                Audio conferencing unit
Toner cartridge Q2671A
Desktop microphone
4x HP ink catridges #564
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Seagate FreeAgent Desk ext. hard drive Contents unknown, can't find power adapter
Seagate Barracuda 80GB hard drive      "HCG CEO PC HD; filesystem damaged + OS viral" ???
Plantronics headset
Misc. cables
Misc. junk documents
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  In re         HCG Software, LLC                                                                                   Case No.
                                                                                                        ,
                                                                                       Debtor

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                               Sub-Total >                  0.00
                                                                                                                   (Total of this page)
                                                                                                                                    Total >     1,096,796.52
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
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   In re         HCG Software, LLC                                                                                            Case No.
                                                                                                                 ,
                                                                                                  Debtor

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                            O    N   I
                                                             D   H         DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT           UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                         I    Q   U                         PORTION, IF
                                                             T   J           DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                          DEDUCTING
           AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF             ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                                 SUBJECT TO LIEN
                                                                                                                          E    D   D     COLLATERAL
                                                                                                                          N    A
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Account No.                                                          6/25/13                                                   E
                                                                                                                               D

Parsons Farnell & Grein, LLP                                         Judgment Lien; Circuit Court of
Davis Galm Law Firm/Paul Galm                                        Multomah County, Oregon; Case No.
                                                                     15CV12004
12220 SW First Street
                                                                 -                                                                 X
Beaverton, OR 97005                                                  All of Debtor's Personal Property
                                                                        Value $                                0.00                        248,227.91                      0.00
Account No.                                                          1/2/15; 4/1/15; 4/16/15; 5/1/15; 5/6/15;
                                                                     6/1/15' 7/3/15
William C. Smith, Jr.
507 Avery Creek Pointe                                               Various Security Agreements; Financing
                                                                     Statements
Woodstock, GA 30188
                                                                 -
                                                                     All of Debtor's Property
                                                                        Value $                                0.00                        245,920.16                      0.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                       Subtotal
 0
_____ continuation sheets attached                                                                                                         494,148.07                      0.00
                                                                                                              (Total of this page)
                                                                                                                          Total            494,148.07                      0.00
                                                                                                (Report on Summary of Schedules)

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  In re         HCG Software, LLC                                                                                                  Case No.
                                                                                                                      ,
                                                                                                Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             3         continuation sheets attached
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   In re         HCG Software, LLC                                                                                           Case No.
                                                                                                                ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)


                                                                                                                        Wages, salaries, and commissions
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
Account No.                                                          80 hours of paid time off                                E
                                                                                                                              D

Christina Smith
435 NE Cook                                                                                                                                              0.00
Portland, OR 97212
                                                                 -

                                                                                                                                             3,384.62              3,384.62
Account No.                                                          60 hours of paid time off

Eric Smith
1447 NW 12th Ave, Unit 214                                                                                                                               0.00
Portland, OR 97209
                                                                 -

                                                                                                                                             2,250.00              2,250.00
Account No.                                                          104 hours of paid time off

Lori Forbess
18399 SW Santoro Drive                                                                                                                                   0.00
Beaverton, OR 97007
                                                                 -

                                                                                                                                             4,350.00              4,350.00
Account No.                                                          204 hours of paid time off

Molly Bradley
6420 NE 30th Ave                                                                                                                                         0.00
Portland, OR 97211
                                                                 -

                                                                                                                                             9,317.31              9,317.31
Account No.                                                          31 hours of paid time off

Sheri Finucane
19196 SE Tillstrom Rd                                                                                                                                    0.00
Damascus, OR 97089
                                                                 -

                                                                                                                                               387.50                387.50
       1
Sheet _____    3
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)           19,689.43            19,689.43




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   In re         HCG Software, LLC                                                                                           Case No.
                                                                                                                ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)


                                                                                                                        Wages, salaries, and commissions
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
Account No.                                                          June 2015                                                E
                                                                                                                              D

Tracy Blom                                                           Commissions
5915 NE Mason St                                                                                                                                         0.00
Portland, OR 97218
                                                                 -

                                                                                                                                             1,375.00              1,375.00
Account No.




Account No.




Account No.




Account No.




       2
Sheet _____    3
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)            1,375.00              1,375.00




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   In re         HCG Software, LLC                                                                                            Case No.
                                                                                                                 ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No.                                                          For Notice Purposes Only                                  E
                                                                                                                               D

Internal Revenue Service
401 W. Peachtree St.                                                                                                                                      0.00
Stop-334D
                                                                 -
Atlanta, GA 30308

                                                                                                                                                  0.00                    0.00
Account No.                                                          July 2015

State of Oregon                                                      Quarterly taxes
PO Box 14999                                                                                                                                              0.00
Salem, OR 97309-0990
                                                                 -

                                                                                                                                              2,945.44              2,945.44
Account No.




Account No.




Account No.




       3
Sheet _____    3
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            2,945.44              2,945.44
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             24,009.87            24,009.87

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   In re         HCG Software, LLC                                                                                       Case No.
                                                                                                                 ,
                                                                                               Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                     For notice purposes only                                    T   T
                                                                                                                                                E
                                                                                                                                                D

Adelina Welch
1082 River Bay Road                                                         -
Annapolis, MD 21409

                                                                                                                                                                             0.00
Account No.                                                                     For notice purposes only

Alan L Cook
3401 NW Banff Dr.                                                           -
Portland, OR 97229

                                                                                                                                                                             0.00
Account No.                                                                     For notice purposes only

Alicia Ruckwardt
5135 SW Baird Street                                                        -
Portland, OR 97219

                                                                                                                                                                             0.00
Account No.                                                                     July 2014
                                                                                $4,673.91 in unpaid wages and additional
Anthony C Seitz aka Andy Seitz                                                  damages which are disputed
17155 SW Carlson Street                                                     -                                                                       X
Sherwood, OR 97140

                                                                                                                                                                     16,023.57

                                                                                                                                        Subtotal
 12 continuation sheets attached
_____                                                                                                                                                                16,023.57
                                                                                                                              (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

April Finucane
19196 SE Tillstrom Rd                                                       -
Damascus, OR 97089

                                                                                                                                                                  0.00
Account No. *0441                                                               4/1/15
                                                                                Phone service
AT&T Mobility
PO Box 6463                                                                 -
Carol Stream, IL 60197-6493

                                                                                                                                                              100.95
Account No.                                                                     For notice purposes only

Barbara Smith
1210 Congressional Lane                                                     -
Wilmington, NC 28411

                                                                                                                                                                  0.00
Account No.                                                                     2015; Various dates
                                                                                Trade debt
Barrington Management, LLC
3380 Barrington Drive West                                                  -
West Linn, OR 97068

                                                                                                                                                          29,300.00
Account No.                                                                     For notice purposes only

Brandon Frost
5043 NW Millstone Way                                                       -
Portland, OR 97229

                                                                                                                                                                  0.00

           1
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          29,400.95
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

Brett Pull
1147 SW Flordia                                                             -
Portland, OR 97219

                                                                                                                                                                  0.00
Account No. *4490                                                               6/3/15; 6/10/15; 6/19/15
                                                                                Legal fees
Bryan Cave
One Atlantic Center                                                         -
1201 W. Peachtree St., NW
Atlanta, GA 30309
                                                                                                                                                            4,500.00
Account No.                                                                     For notice purposes only

Christian O Brahe-Pedersen
602 Cabana Lane                                                             -
Lake Oswego, OR 97034

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Christina Pak-Hanratty
1123 Bluffhaven Way                                                         -
Atlanta, GA 30319

                                                                                                                                                                  0.00
Account No. *2731                                                               2014-2015
                                                                                Legal fees in connection with PSS bankruptcy
Cole Schotz Meisel Forman & Le                                                  case
300 East Lombard St, Ste. 2000                                              -
Baltimore, MD 21202

                                                                                                                                                          34,374.49

           2
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          38,874.49
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. *0803                                                               6/19/15                                                 E
                                                                                Utility service (internet)                              D

Comcast
PO Box 34744                                                                -
Seattle, WA 98124

                                                                                                                                                              119.85
Account No. *7998                                                               Utility Service

Comcast Business
PO Box 37601                                                                -
Philadelphia, PA 19101-0601

                                                                                                                                                              403.14
Account No.                                                                     Notes Payable

Dan Stanton
112 Ortega Court                                                            -
Erie, CO 80516

                                                                                                                                                        106,149.00
Account No.                                                                     For notice purposes only

Daniel Carroll
7365 SW Pineridge Ct                                                        -
Portland, OR 97225

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Daniel P. Stanton Trust
Attn: Dan Stanton                                                           -
112 Ortega Court
Erie, CO 80516
                                                                                                                                                                  0.00

           3
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        106,671.99
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

David Driskill
1400 SW 66th Ave                                                            -
Portland, OR 97225

                                                                                                                                                                  0.00
Account No.                                                                     4/28/14
                                                                                Marketing services
DHX Advertising
217 NE 8th Ave                                                              -
Portland, OR 97232

                                                                                                                                                            4,000.00
Account No.                                                                     For notice purposes only

Don Jurgens
1620 Briers Chute                                                           -
Alpharetta, GA 30004

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Dwayne A Castrillon
10920 SW 83rd Ave                                                           -
Tigard, OR 97223

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Eric Smith.
1447 NW 12th Ave, Unit 214                                                  -
Portland, OR 97209

                                                                                                                                                                  0.00

           4
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            4,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

Erick Cloward
10420 SW 14th                                                               -
Portland, OR 97219

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Erik Blanchard
1400 NE Chehalem Dr                                                         -
Newberg, OR 97132

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Erwin Thomas
1530 Berkshire Hill Ct                                                      -
Duluth, GA 30097

                                                                                                                                                                  0.00
Account No.                                                                     8/24/14-7/1/05
                                                                                Network support services
Global Network Support, Inc.
PO Box 3790                                                                 -
Tualatin, OR 97062

                                                                                                                                                          14,181.50
Account No.                                                                     For notice purposes only

Jack Horn
11023 NE Prescott Street                                                    -
Portland, OR 97220

                                                                                                                                                                  0.00

           5
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          14,181.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

Jeffrey J Stupfel
909 SW Moss St                                                              -
Portland, OR 97219

                                                                                                                                                                  0.00
Account No.                                                                     For Notice Purposes Only

John C. Herbers
7600 Landmark Way                                                           -
Ste. 1615
Englewood, CO 80111
                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

John R Falkey
2735 SE 29th Ave Apt. F                                                     -
Portland, OR 97202

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

John Scott
72 Independence Lane                                                        -
Jackson, TN 38305

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Justin Collum
2013 NE 67th #202                                                           -
Portland, OR 97213

                                                                                                                                                                  0.00

           6
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                  0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

Karen L Peterson
740 SW Center Pullman                                                       -
Pullman, WA 99163

                                                                                                                                                                  0.00
Account No.                                                                     6/26/15; 7/5/15
                                                                                Unreimbursed expenses
Kristina M. Smith
435 NE Cook                                                                 -
Portland, OR 97212

                                                                                                                                                            2,992.16
Account No.                                                                     For notice purposes only

Kyle A McLenithan
4291 Woodside Circle                                                        -
Lake Oswego, OR 97035

                                                                                                                                                                  0.00
Account No.                                                                     12/3/14; 1/7/15; 2/5/15
                                                                                Marketing support
Locology LLC
SE Tacoma Street                                                            -
Ste. 331
Portland, OR 97202
                                                                                                                                                            4,860.00
Account No.                                                                     For notice purposes only

Lori L Forbess
18399 SW Santoro Drive                                                      -
Beaverton, OR 97007

                                                                                                                                                                  0.00

           7
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            7,852.16
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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                 Case 15-63347-jwc                        Doc 1          Filed 07/16/15 Entered 07/16/15 15:30:08                       Desc Main
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     For notice purposes only                                E
                                                                                                                                        D

Margaret Wallace
295 Woodlake Court                                                          -
Alpharetta, GA 30005

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Marsha Smith
507 Avery Creek Pointe                                                      -
Woodstock, GA 30188

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Matthew Piatt
10550 SW Cougar Ln                                                          -
Beaverton, OR 97008

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Michael Bruchey
795 Champions Club Drive                                                    -
Alpharetta, GA 30004

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Michael J Kephart
3320 Canyon Oak Way                                                         -
Cumming, GA 30041

                                                                                                                                                                  0.00

           8
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                  0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                     For notice purposes only                                E
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Molly Bradley
6420 NE 30th Ave                                                            -
Portland, OR 97211

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Nathan Anderson
430 SW 13th Ave #708                                                        -
Portland, OR 97205

                                                                                                                                                                  0.00
Account No.                                                                     Notes Payable

Scott D. Stanton Trust
19188 SE Tillstrom                                                          -                                                               X
Boring, OR 97009

                                                                                                                                                        236,552.00
Account No.                                                                     Notes Payable

Scott Stanton
19188 SE Tillstrom                                                          -                                                               X
Boring, OR 97009

                                                                                                                                                        597,747.00
Account No.                                                                     7/10/15
                                                                                Unreimbursed expenses
Shellie Tetzlaff
11013 NE 64th Ave.                                                          -
Vancouver, WA 98686

                                                                                                                                                              130.66

           9
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        834,429.66
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
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Account No.                                                                     For notice purposes only                                E
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Sheri Y Kennedy Finucane
19196 SE Tillstrom Rd                                                       -
Damascus, OR 97089

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Simon Buchard
9461 NW Murlea Lane                                                         -
Portland, OR 97229

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Simon P Buchard
10315 SW Washington Street                                                  -
Portland, OR 97225

                                                                                                                                                                  0.00
Account No.                                                                     For notice purposes only

Steven Daniels
770 Gates Lane                                                              -
Alpharetta, GA 30022

                                                                                                                                                                  0.00
Account No.                                                                     12/18/14
                                                                                Association dues
Technology Association of Oreg
123 NE Third Avenue Ste. 210                                                -
Portland, OR 97232

                                                                                                                                                              250.00

           10 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                              250.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                   Case No.
                                                                                                                 ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No. *1027                                                               7/2/15                                                  E
                                                                                Business Owners Policy                                  D

The Hartford
P.O. Box 2907                                                               -
Hartford, CT 06104

                                                                                                                                                            1,767.00
Account No.                                                                     7/7/14
                                                                                2013 tax return preparation
Thompson Kessler Wiest & Borqu
111 SW Columbia Ste. 750                                                    -
Portland, OR 97201

                                                                                                                                                            1,500.00
Account No.                                                                     For notice purposes only

Tracy L Blom
5915 NE Mason St                                                            -
Portland, OR 97218

                                                                                                                                                                  0.00
Account No. *1171                                                               Insurance

Travelers
Remittance Center                                                           -
PO Box 660317
Dallas, TX 75266-0317
                                                                                                                                                                80.00
Account No.                                                                     6/5/15
                                                                                Insurance
Travelers CL
Remittance Center                                                           -
PO Box 660317
Dallas, TX 75266-0317
                                                                                                                                                                80.00

           11 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                            3,427.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         HCG Software, LLC                                                                                         Case No.
                                                                                                                  ,
                                                                                               Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
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                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
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Account No.                                                                     1/23/15                                                        E
                                                                                VOIP Services                                                  D

VOIP Portland
PO Box 69599                                                                -
Portland, OR 97239

                                                                                                                                                                     180.00
Account No.                                                                     For notice purposes only

Wade Wilson
23632 SW Stonehaven Street                                                  -
Sherwood, OR 97140

                                                                                                                                                                         0.00
Account No.                                                                     2014-2015
                                                                                Unreimbursed business expenses
William C. Smith, Jr.
507 Avery Creek Pointe                                                      -
Woodstock, GA 30188

                                                                                                                                                                 22,398.39
Account No.                                                                     Notes Payable

William C. Smith, Jr.
507 Avery Creek Pointe                                                      -
Woodstock, GA 30188

                                                                                                                                                             2,217,675.00
Account No.                                                                     3/5/15
                                                                                Marketing services
Xuma
456 S. Broadway                                                             -
Denver, CO 80209

                                                                                                                                                                   2,700.00

           12 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                             2,242,953.39
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)            3,298,064.71


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                                                                       Document      Page 47 of 74
B6G (Official Form 6G) (12/07)


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  In re             HCG Software, LLC                                                                           Case No.
                                                                                                      ,
                                                                                    Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Adventist Health                                                    Software License Agreements
                     2100 Douglas Boulevard
                     Roseville, CA 95661

                     Algodon Wines & Luxury                                              Software License Agreements
                     Development Group
                     135 5th Ave. 10th Floor
                     New York, NY 10010

                     Aquatic                                                             Software License Agreements
                     8101 E Kaiser Blvd
                     Anaheim, CA 92808

                     Beatrice Community Hospital                                         Software License Agreements
                     4800 Hospital Parkway
                     Beatrice, NE 68310

                     Blick Art Materials                                                 Software License Agreements
                     1849 Green Bay Road Suite 310
                     Highland Park, IL 60035

                     Brock Beauty Inc.                                                   Software License Agreements
                     840 Oak Harbor Blvd.
                     Slidell, LA 70458

                     Carat USA                                                           Software License Agreements
                     150 East 42nd Street
                     New York, NY 10017

                     Central Washington Hospital                                         Software License Agreements
                     PO Box 1887 1300 Fuller Street
                     Wenatchee, WA 98807

                     Citizens Medical Center                                             Software License Agreements
                     2701 Hospital Drive
                     Victoria, TX 77901

                     City of Brewton                                                     Software License Agreements
                     P. O. Box 368
                     Brewton, AL 36427-0368

                     Clearwater Valley and                                               Software License Agreements
                     St. Mary's Hospital
                     301 Cedar
                     Orofino, ID 83544




       4
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
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  In re         HCG Software, LLC                                                                                 Case No.
                                                                                                       ,
                                                                                      Debtor

                      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                             (Continuation Sheet)


                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
               Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                   of Other Parties to Lease or Contract                                       State contract number of any government contract.
                   Columbia St. Mary's Hospital                                           Software License Agreements
                   2323 N. Lake Drive
                   Milwaukee, WI 53211

                   Connecticut Community Care                                             Software License Agreements
                   43 Enterprise Drive
                   Bristol, CT 06010

                   Dameron Hospital                                                       Software License Agreements
                   525 Acacia Street
                   Stockton, CA 95203

                   Dehm and Assoc.                                                        Software License Agreements
                   PO Box 103
                   Geneseo, NY 14454

                   Douglas County Hospital                                                Software License Agreements
                   111 17th Avenue East
                   Alexandria, MN 56308

                   Energetiq Technology, Inc.                                             Software License Agreements
                   7 Constitution Way
                   Woburn, MA 01801-1024

                   Flyers Energy, LLC                                                     Software License Agreements
                   2360 Lindbergh Street
                   Auburn, CA 95602

                   Georgia Student Finance Auth                                           Software License Agreements
                   2082 E. Exchange Place
                   2082 E. Exchange Place
                   Tucker, GA 30084-5334

                   Global Network Support, Inc.                                           Houses network servers
                   PO Box 3790
                   Tualatin, OR 97062

                   Henry County Hospital                                                  Software license agreements
                   1600 East Riverview
                   Napoleon, OH 43545

                   Hillsboro Area Hospital                                                Software license agreements
                   1200 East Tremont Street
                   Hillsboro, IL 62049

                   Home Brands Group LLC                                                  Software license agreements
                   421 West Alameda Drive
                   Tempe, AZ 85282

                   Iberia Medical Center                                                  Software license agreements
                   PO BOX 1338
                   New Iberia, LA 70562




     Sheet     1     of 4         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re         HCG Software, LLC                                                                                 Case No.
                                                                                                       ,
                                                                                      Debtor

                      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                             (Continuation Sheet)


                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
               Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                   of Other Parties to Lease or Contract                                       State contract number of any government contract.
                   Komar Brands Inc.                                                      Software license agreements
                   16 East 34th Street 10th Floor
                   New York, NY 10016

                   Little Building, LLC                                                   5 year commercial lease with deposit
                   3380 Barrington Drive
                   West Linn, OR 97068

                   Microsoft Azure                                                        Client Database Hosting
                   One Microsoft Way
                   Hillsboro, OR 97124

                   New Life Christian Church                                              Software license agreements
                   14550 Lee Road
                   Chantilly, VA 20151

                   New York Hospital Queens                                               Software license agreements
                   56-45 Main Street
                   New York, NY 11355

                   Oconee Medical Center                                                  Software license agreements
                   298 Memorial Drive
                   Seneca, SC 29672

                   Oklahoma Countertops                                                   Software license agreements
                   & Flooring
                   602 South Main
                   NewCastle, OK 73065

                   OnCue                                                                  Software License Agreements
                   916 N. Main
                   Stillwater, OK 74075

                   Oroville Hospital                                                      Software License Agreements
                   2767 Olive Highway
                   Oroville, CA 95966-6185

                   Premier Storage                                                        Storage Unit Rental
                   2001 NW Aloplek Drive
                   Unit 357
                   Hillsboro, OR 97124

                   Professional Datasolutions Inc                                         Software License Agreements
                   3407 S. 31st Street
                   Temple, TX 76502

                   Public-Sector Solutions                                                Software License Agreements
                   900 South Washington Street
                   Falls Church, VA 22046




     Sheet     2     of 4         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re         HCG Software, LLC                                                                                 Case No.
                                                                                                       ,
                                                                                      Debtor

                      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                             (Continuation Sheet)


                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
               Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                   of Other Parties to Lease or Contract                                       State contract number of any government contract.
                   Public-Sector Solutions                                                Software License Agreements
                   California DMH
                   900 South Washington Street
                   Falls Church, VA 22046

                   Renasant Bank                                                          Software License Agreements
                   209 Troy Street
                   Tupelo, MS 38802

                   Salem Hospital                                                         Software License Agreements
                   665 Winter Street SE
                   Salem, OR 97309

                   Servicon Systems, Inc.                                                 Software License Agreements
                   3965 Landmark Street
                   Culver City, CA 90230

                   St. Benedicts                                                          Software License Agreements
                   790 North Lincoln
                   Jerome, ID 83338

                   Synergy Health Centers                                                 Software License Agreements
                   2363 Lakewood Rd.
                   Toms River, NJ 08755

                   Terrebonne General                                                     Software License Agreements
                   Medical Center
                   8166 Main Street
                   Houma, LA 70360

                   The Hartford                                                           Insurance Agreements
                   P.O. Box 2907
                   Hartford, CT 06104

                   The Travelers                                                          Insurance Agreements
                   Remittance Center
                   PO Box 660317
                   Dallas, TX 75266-0137

                   Thibodaux Regional                                                     Software License Agreements
                   Medical Center
                   602 Acadia Road
                   Thibodaux, LA 70301

                   Tri-City Medical Center                                                Software License Agreements
                   4002 Vista Way
                   Oceanside, CA 92056-4506

                   Twinings, Inc.                                                         Software License Agreements
                   2883 East Spring Street
                   Ste. 300
                   Long Beach, CA 90806




     Sheet     3     of 4         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re         HCG Software, LLC                                                                                 Case No.
                                                                                                       ,
                                                                                      Debtor

                      SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                             (Continuation Sheet)


                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
               Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                   of Other Parties to Lease or Contract                                       State contract number of any government contract.
                   UAMS                                                                   Software License Agreements
                   4301 W. Markam Street Slot 645
                   Little Rock, AR 72205

                   UAMS-old                                                               Software License Agreements
                   Slot 633 4301 West Markham
                   Little Rock, AR 72205

                   Van Diest Medical Center                                               Software License Agreements
                   2350 Hospital Drive
                   Webster City, IA 50595

                   Walker County                                                          Software License Agreements
                   P.O. Box 1260
                   Huntsville, TX 77342-1260




     Sheet     4     of 4         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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B6H (Official Form 6H) (12/07)


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  In re          HCG Software, LLC                                                                       Case No.
                                                                                               ,
                                                                                   Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
             Case 15-63347-jwc                       Doc 1            Filed 07/16/15 Entered 07/16/15 15:30:08                  Desc Main
                                                                     Document      Page 53 of 74
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                       Northern District of Georgia - Atlanta Division
 In re      HCG Software, LLC                                                                                    Case No.
                                                                                     Debtor(s)                   Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                      I, the Managing Member of the corporation named as debtor in this case, declare under penalty of perjury
            that I have read the foregoing summary and schedules, consisting of 31 sheets, and that they are true and
            correct to the best of my knowledge, information, and belief.




 Date July 16, 2015                                                      Signature   /s/ William C. Smith, Jr.
                                                                                     William C. Smith, Jr.
                                                                                     Managing Member

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
  In re          HCG Software, LLC                                                                             Case No.
                                                                                                        ,
                                                                                       Debtor
                                                                                                               Chapter                    7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS                 LIABILITIES              OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                         0.00


B - Personal Property                                          Yes            4                 1,096,796.52


C - Property Claimed as Exempt                                 No             0


D - Creditors Holding Secured Claims                           Yes            1                                          494,148.07


E - Creditors Holding Unsecured                                Yes            4                                           24,009.87
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            13                                     3,298,064.71
    Nonpriority Claims

G - Executory Contracts and                                    Yes            5
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               No             0                                                                     N/A
    Debtor(s)

J - Current Expenditures of Individual                         No             0                                                                     N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    29


                                                                        Total Assets            1,096,796.52


                                                                                         Total Liabilities           3,816,222.65




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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
  In re           HCG Software, LLC                                                                           Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                             TOTAL


              State the following:

              Average Income (from Schedule I, Line 12)


              Average Expenses (from Schedule J, Line 22)

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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 In re      HCG Software, LLC                                                                              Case No.
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                                              VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       July 16, 2015                                               /s/ William C. Smith, Jr.
                                                                         William C. Smith, Jr./Managing Member
                                                                         Signer/Title




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                         Adelina Welch
                         1082 River Bay Road
                         Annapolis, MD 21409



                         Adventist Health
                         2100 Douglas Boulevard
                         Roseville, CA 95661



                         Alan L Cook
                         3401 NW Banff Dr.
                         Portland, OR 97229



                         Algodon Wines & Luxury
                         Development Group
                         135 5th Ave. 10th Floor
                         New York, NY 10010



                         Alicia Ruckwardt
                         5135 SW Baird Street
                         Portland, OR 97219



                         Anthony C Seitz aka Andy Seitz
                         17155 SW Carlson Street
                         Sherwood, OR 97140



                         April Finucane
                         19196 SE Tillstrom Rd
                         Damascus, OR 97089



                         Aquatic
                         8101 E Kaiser Blvd
                         Anaheim, CA 92808



                         AT&T Mobility
                         PO Box 6463
                         Carol Stream, IL 60197-6493
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                     Barbara Smith
                     1210 Congressional Lane
                     Wilmington, NC 28411



                     Barrington Management, LLC
                     3380 Barrington Drive West
                     West Linn, OR 97068



                     Beatrice Community Hospital
                     4800 Hospital Parkway
                     Beatrice, NE 68310



                     Blick Art Materials
                     1849 Green Bay Road Suite 310
                     Highland Park, IL 60035



                     Brandon Frost
                     5043 NW Millstone Way
                     Portland, OR 97229



                     Brett Pull
                     1147 SW Flordia
                     Portland, OR 97219



                     Brock Beauty Inc.
                     840 Oak Harbor Blvd.
                     Slidell, LA 70458



                     Bryan Cave
                     One Atlantic Center
                     1201 W. Peachtree St., NW
                     Atlanta, GA 30309



                     Carat USA
                     150 East 42nd Street
                     New York, NY 10017
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                     Central Washington Hospital
                     PO Box 1887 1300 Fuller Street
                     Wenatchee, WA 98807



                     Christian O Brahe-Pedersen
                     602 Cabana Lane
                     Lake Oswego, OR 97034



                     Christina Pak-Hanratty
                     1123 Bluffhaven Way
                     Atlanta, GA 30319



                     Christina Smith
                     435 NE Cook
                     Portland, OR 97212



                     ChristineTracey
                     Northwest Law Firm
                     1001 SW 5th Ave, Ste.1220
                     Portland, OR 97204



                     Citizens Medical Center
                     2701 Hospital Drive
                     Victoria, TX 77901



                     City of Brewton
                     P. O. Box 368
                     Brewton, AL 36427-0368



                     Clearwater Valley and
                     St. Mary's Hospital
                     301 Cedar
                     Orofino, ID 83544



                     Cole Schotz Meisel Forman & Le
                     300 East Lombard St, Ste. 2000
                     Baltimore, MD 21202
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                     Columbia St. Mary's Hospital
                     2323 N. Lake Drive
                     Milwaukee, WI 53211



                     Comcast
                     PO Box 34744
                     Seattle, WA 98124



                     Comcast Business
                     PO Box 37601
                     Philadelphia, PA 19101-0601



                     Connecticut Community Care
                     43 Enterprise Drive
                     Bristol, CT 06010



                     Dameron Hospital
                     525 Acacia Street
                     Stockton, CA 95203



                     Dan Stanton
                     112 Ortega Court
                     Erie, CO 80516



                     Daniel Carroll
                     7365 SW Pineridge Ct
                     Portland, OR 97225



                     Daniel P. Stanton Trust
                     Attn: Dan Stanton
                     112 Ortega Court
                     Erie, CO 80516



                     David A. Foraker
                     Greene & Markley PC
                     1515 SW Fifth Ave Ste. 600
                     Portland, OR 97201
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                     David Driskill
                     1400 SW 66th Ave
                     Portland, OR 97225



                     Dehm and Assoc.
                     PO Box 103
                     Geneseo, NY 14454



                     DHX Advertising
                     217 NE 8th Ave
                     Portland, OR 97232



                     Don Jurgens
                     1620 Briers Chute
                     Alpharetta, GA 30004



                     Douglas County Hospital
                     111 17th Avenue East
                     Alexandria, MN 56308



                     Dwayne A Castrillon
                     10920 SW 83rd Ave
                     Tigard, OR 97223



                     Energetiq Technology, Inc.
                     7 Constitution Way
                     Woburn, MA 01801-1024



                     Eric Smith
                     1447 NW 12th Ave, Unit 214
                     Portland, OR 97209



                     Eric Smith.
                     1447 NW 12th Ave, Unit 214
                     Portland, OR 97209
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                     Erick Cloward
                     10420 SW 14th
                     Portland, OR 97219



                     Erik Blanchard
                     1400 NE Chehalem Dr
                     Newberg, OR 97132



                     Erwin Thomas
                     1530 Berkshire Hill Ct
                     Duluth, GA 30097



                     Flyers Energy, LLC
                     2360 Lindbergh Street
                     Auburn, CA 95602



                     Georgia Department of Revenue
                     Bankruptcy Section
                     PO Box 161108
                     Atlanta, GA 30321



                     Georgia Student Finance Auth
                     2082 E. Exchange Place
                     2082 E. Exchange Place
                     Tucker, GA 30084-5334



                     Global Network Support, Inc.
                     PO Box 3790
                     Tualatin, OR 97062



                     Henry County Hospital
                     1600 East Riverview
                     Napoleon, OH 43545



                     Hillsboro Area Hospital
                     1200 East Tremont Street
                     Hillsboro, IL 62049
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                     Home Brands Group LLC
                     421 West Alameda Drive
                     Tempe, AZ 85282



                     Iberia Medical Center
                     PO BOX 1338
                     New Iberia, LA 70562



                     Internal Revenue Service
                     401 W. Peachtree St.
                     Stop-334D
                     Atlanta, GA 30308



                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101-7346



                     Jack Horn
                     11023 NE Prescott Street
                     Portland, OR 97220



                     Jeffrey J Stupfel
                     909 SW Moss St
                     Portland, OR 97219



                     John C. Herbers
                     7600 Landmark Way
                     Ste. 1615
                     Englewood, CO 80111



                     John R Falkey
                     2735 SE 29th Ave Apt. F
                     Portland, OR 97202



                     John Scott
                     72 Independence Lane
                     Jackson, TN 38305
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                     Justin Collum
                     2013 NE 67th #202
                     Portland, OR 97213



                     Karen L Peterson
                     740 SW Center Pullman
                     Pullman, WA 99163



                     Komar Brands Inc.
                     16 East 34th Street 10th Floor
                     New York, NY 10016



                     Kristina M. Smith
                     435 NE Cook
                     Portland, OR 97212



                     Kyle A McLenithan
                     4291 Woodside Circle
                     Lake Oswego, OR 97035



                     Little Building, LLC
                     3380 Barrington Drive
                     West Linn, OR 97068



                     Locology LLC
                     SE Tacoma Street
                     Ste. 331
                     Portland, OR 97202



                     Lori Forbess
                     18399 SW Santoro Drive
                     Beaverton, OR 97007



                     Lori L Forbess
                     18399 SW Santoro Drive
                     Beaverton, OR 97007
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                     Margaret Wallace
                     295 Woodlake Court
                     Alpharetta, GA 30005



                     Marsha Smith
                     507 Avery Creek Pointe
                     Woodstock, GA 30188



                     Matthew Piatt
                     10550 SW Cougar Ln
                     Beaverton, OR 97008



                     Michael Bruchey
                     795 Champions Club Drive
                     Alpharetta, GA 30004



                     Michael J Kephart
                     3320 Canyon Oak Way
                     Cumming, GA 30041



                     Microsoft Azure
                     One Microsoft Way
                     Hillsboro, OR 97124



                     Molly Bradley
                     6420 NE 30th Ave
                     Portland, OR 97211



                     Nathan Anderson
                     430 SW 13th Ave #708
                     Portland, OR 97205



                     New Life Christian Church
                     14550 Lee Road
                     Chantilly, VA 20151
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                     New York Hospital Queens
                     56-45 Main Street
                     New York, NY 11355



                     Oconee Medical Center
                     298 Memorial Drive
                     Seneca, SC 29672



                     Office of the U.S. Trustee
                     75 Spring Street, SW
                     362 Richard B. Russell Bldg
                     Atlanta, GA 30303



                     Oklahoma Countertops
                     & Flooring
                     602 South Main
                     NewCastle, OK 73065



                     OnCue
                     916 N. Main
                     Stillwater, OK 74075



                     Oregon Department of Revenue
                     955 Center St NE
                     Salem, OR 97301



                     Oroville Hospital
                     2767 Olive Highway
                     Oroville, CA 95966-6185



                     Parsons Farnell & Grein, LLP
                     Davis Galm Law Firm/Paul Galm
                     12220 SW First Street
                     Beaverton, OR 97005



                     Premier Storage
                     2001 NW Aloplek Drive
                     Unit 357
                     Hillsboro, OR 97124
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                     Professional Datasolutions Inc
                     3407 S. 31st Street
                     Temple, TX 76502



                     Public-Sector Solutions
                     900 South Washington Street
                     Falls Church, VA 22046



                     Public-Sector Solutions
                     California DMH
                     900 South Washington Street
                     Falls Church, VA 22046



                     Renasant Bank
                     209 Troy Street
                     Tupelo, MS 38802



                     Salem Hospital
                     665 Winter Street SE
                     Salem, OR 97309



                     Scott D. Stanton Trust
                     19188 SE Tillstrom
                     Boring, OR 97009



                     Scott Stanton
                     19188 SE Tillstrom
                     Boring, OR 97009



                     Servicon Systems, Inc.
                     3965 Landmark Street
                     Culver City, CA 90230



                     Shellie Tetzlaff
                     11013 NE 64th Ave.
                     Vancouver, WA 98686
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                     Sheri Finucane
                     19196 SE Tillstrom Rd
                     Damascus, OR 97089



                     Sheri Y Kennedy Finucane
                     19196 SE Tillstrom Rd
                     Damascus, OR 97089



                     Simon Buchard
                     9461 NW Murlea Lane
                     Portland, OR 97229



                     Simon P Buchard
                     10315 SW Washington Street
                     Portland, OR 97225



                     St. Benedicts
                     790 North Lincoln
                     Jerome, ID 83338



                     State of Oregon
                     PO Box 14999
                     Salem, OR 97309-0990



                     Steven Daniels
                     770 Gates Lane
                     Alpharetta, GA 30022



                     Synergy Health Centers
                     2363 Lakewood Rd.
                     Toms River, NJ 08755



                     Technology Association of Oreg
                     123 NE Third Avenue Ste. 210
                     Portland, OR 97232
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                     Terrebonne General
                     Medical Center
                     8166 Main Street
                     Houma, LA 70360



                     The Hartford
                     P.O. Box 2907
                     Hartford, CT 06104



                     The Travelers
                     Remittance Center
                     PO Box 660317
                     Dallas, TX 75266-0137



                     Thibodaux Regional
                     Medical Center
                     602 Acadia Road
                     Thibodaux, LA 70301



                     Thompson Kessler Wiest & Borqu
                     111 SW Columbia Ste. 750
                     Portland, OR 97201



                     Tracy Blom
                     5915 NE Mason St
                     Portland, OR 97218



                     Tracy L Blom
                     5915 NE Mason St
                     Portland, OR 97218



                     Travelers
                     Remittance Center
                     PO Box 660317
                     Dallas, TX 75266-0317
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                     Travelers CL
                     Remittance Center
                     PO Box 660317
                     Dallas, TX 75266-0317



                     Tri-City Medical Center
                     4002 Vista Way
                     Oceanside, CA 92056-4506



                     Twinings, Inc.
                     2883 East Spring Street
                     Ste. 300
                     Long Beach, CA 90806



                     UAMS
                     4301 W. Markam Street Slot 645
                     Little Rock, AR 72205



                     UAMS-old
                     Slot 633 4301 West Markham
                     Little Rock, AR 72205



                     Van Diest Medical Center
                     2350 Hospital Drive
                     Webster City, IA 50595



                     VOIP Portland
                     PO Box 69599
                     Portland, OR 97239



                     Wade Wilson
                     23632 SW Stonehaven Street
                     Sherwood, OR 97140



                     Walker County
                     P.O. Box 1260
                     Huntsville, TX 77342-1260
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                     William C. Smith, Jr.
                     507 Avery Creek Pointe
                     Woodstock, GA 30188



                     Xuma
                     456 S. Broadway
                     Denver, CO 80209
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for HCG Software, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 16, 2015                                                         /s/ Robert B. Campos
 Date                                                                  Robert B. Campos
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for HCG Software, LLC
                                                                       Law Office of Robert B. Campos
                                                                       2774 N. Cobb Parkway, Ste. 109 #317
                                                                       Kennesaw, GA 30144
                                                                       404-388-3122




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